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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                      FT. WORTH DIVISION


 GOOSEHEAD INSURANCE
 AGENCY, LLC.,

                    Plaintiff,
        v.                                                        Case No. 4:19-cv-01040

 WILLIAMS INSURANCE AND
 CONSULTING, INC., TRISHA M.
 WILLIAMS and JOSEPH N.
 WILLIAMS,

                     Defendants.


PLAINTIFF’S SUPPLEMENTAL BRIEF IN SUPPORT OF ITS MOTION TO DISMISS
 COUNTS I, III, IV AND V OF DEFENDANTS’ FIRST AMENDED COUNTERCLAIM
              AND TO APPLY TEXAS LAW TO COUNTS II AND IV


                                       INTRODUCTION

       Goosehead Insurance Agency (“Goosehead”) submits this supplemental brief identifying

further authority that Texas is the jurisdiction with the most natural connection to the parties’

dispute. Texas’ “qualified transaction” statute (Tex. Bus. & Com. Code § 271.001 et seq.) provides

another basis for the Court to reaffirm the expectations of the sophisticated commercial parties’

bargain by enforcing the franchise agreement’s unambiguous and mandatory choice-of-law clause.

As a “qualified transaction” with a reasonable relationship to Texas, the Court should enforce the

choice-of-law clause without regard to whether application of Texas law contravenes a possible

Michigan fundamental policy. This conclusion is dictated by black letter law, the facts presented

here, and the parties’ pleadings.
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       That said, even under the traditional Restatement choice-of-law analysis, the Court is

afforded with sufficient legal authority—from both the Fifth and Sixth Circuits—to conclude that

Texas law applies here. Put simply, the choice-of-law clause does not conflict with any Michigan

public policy.

                                             ARGUMENT

         I.      TEXAS STATUTORY LAW PROVIDES AN ALTERNATIVE BASIS FOR
                 THE COURT TO ENFORCE THE AGREEMENT’S CHOICE OF LAW
                 CLAUSE.

       The Texas Business and Commercial Code addresses choice-of-law issues related to

certain “qualified transactions”, including commercial relationships where a party “pays or

receives, or is obligated to pay or is entitled to receive, consideration with an aggregate value of

at least $1 million.” Tex. Bus. & Com. Code § 271.001(1).

       Parties to a qualified transaction may select the governing law of the transaction on two

conditions:

       1) the parties must “agree in writing that the law of that jurisdiction governs the issue,

              including the validity or enforceability of an agreement relating to the transaction or a

              provision of the agreement”; and

       2) the qualified transaction must “bear[] a reasonable relationship to that jurisdiction.”

See Tex. Bus. & Com. Code § 271.005(a)(1)–(2). If both conditions are met, then “[t]he law of a

particular jurisdiction governs an issue described by this section regardless of whether the

application of that law is contrary to a fundamental or public policy of this state or of any other

jurisdiction.” Id. at § 271.005(b) (emphasis added).




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                         a. The Agreement evidences a qualified transaction.

           The parties’ transaction achieves the $1 million threshold because Defendants would be

“obligated to pay” (and Goosehead would be “entitled to receive”) such royalties, derived from

Defendants’ sales of insurance products. See Tex. Bus. & Com. Code § 271.001(1). The

Goosehead Insurance Agency, LLC Franchise Agreement (“the Agreement”), executed by Trisha

and Joseph, governs the parties’ relationship. See generally ECF No. 42 (“Goosehead Br.”) at 8. 1

The Agreement contemplates a ten-year relationship whereby Joseph Williams (“Joseph”) and

Trisha Williams (“Trisha”) would be insurance producers for Williams Insurance and Consulting

(“WIC”). Defendants are obligated to pay royalties based on their gross revenue from commissions

of Goosehead Insurance products. See The Agreement, ECF No. 1-1, at ¶ 4.2; 4.2.9.

           Goosehead’s Franchise Disclosure Document (“FDD”) demonstrates that the average gross

revenue for the performance of a ten-year franchise would generate $904,371 in royalties per

producer. See Declaration of Ryan Langston (“Langston Decl.”) filed contemporaneously

herewith, at ¶¶ 3–14. If Joseph and Trisha generated such average gross revenues, Goosehead

would be entitled to receive $1,808,742 in royalties over the life of the Agreement. Id. at ¶ 15.

           Furthermore, Defendants assert that WIC was in the top 20% of Michigan Goosehead

franchises. See Amended Counterclaim, ECF No. 40, (“Am. Counterclaim”) at ¶ 29. Taking this

allegation as true, at least for the purposes of the pending Motion, Defendants would be obligated

to pay royalties of $3,322,932 over the course of the Agreement. Langston Decl. at ¶¶ 16–18. Thus,

Defendants’ performance and obligations to Goosehead under the Agreement contemplate

consideration of at least $1 million.

                         b. The parties’ qualified transaction bears a reasonable relationship to
                            Texas.


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    All record citations reference the file-stamped page number, not the in-text pagination.

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       As a threshold consideration, the Agreement’s choice-of-law clause (“the Provision”) is

plainly a written agreement that Texas law governs the parties’ relationship. Tex. Bus. & Com.

Code § 271.005(a)(1). As the Court is well aware, the Agreement contains the Provision, which

designates Texas law. See Goosehead Br. 8. Therefore, Defendants assented to Texas law when

they executed the Agreement. See also In re Perry, 425 B.R. 323, 390, 2010 WL 668040 (Bankr.

S.D. Tex. 2010).

       Second, the parties’ transaction bears a reasonable relationship to Texas. “A transaction

bears a reasonable relation to a particular jurisdiction if the transaction, the subject matter of the

transaction, or a party to the transaction is reasonably related to that jurisdiction.” Tex. Bus. &

Com. Code § 271.004(a). Texas bears a reasonable relationship to this transaction because:

           •   Goosehead is a resident of Texas Id. at § 271.004(b)(1)(A); see also Complaint,
               ECF No. 1, (“Compl.”) at ¶ 1.

           •   Goosehead’s principal place of business and corporate headquarters are located in
               Westlake, Texas. Tex. Bus. & Com. Code § 271.004(b)(1)(B); see also Compl. at
               ¶ 1.

           •   All of Goosehead’s negotiations with Defendants took place in Westlake, Texas.
               Indeed, a substantial part of Defendants’ negotiations took place in Texas. Tex.
               Bus. & Com. Code § 271.004(b)(1)(B); see also Goosehead Br. 13–14.

           •   As evidenced by the Provision, the subject matter of the transaction is located in
               Texas. Tex. Bus. & Com. Code § 271.004(b)(1)(C); see also Goosehead Br. 14–15,
               20.

           •   Goosehead performed its Agreement obligations from Westlake, Texas. Tex. Bus.
               & Com. Code § 271.004(b)(1)(D); see also Goosehead Br. 14–15.

           •   In addition to negotiating exclusively from Texas, Goosehead signed the
               Agreement in Texas. Tex. Bus. & Com. Code § 271.004(b)(1)(E); see also
               Goosehead Br. 13–14.


       All of the above factors indicate that the parties’ qualified transaction is not only reasonably

related to Texas, but that Texas is the jurisdiction most substantially related to this dispute.

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Therefore, the parties’ qualified transaction renders any analysis of Michigan fundamental policy

irrelevant. Tex. Bus. & Com. Code § 271.005(b). The Court should enforce the Provision, dismiss

Defendants’ non-cognizable claims and apply Texas law to the remaining claims.


           II.   TEXAS LAW HAS THE MOST NATURAL CONNECTION TO THIS
                 DISPUTE.

       The same result should be reached under the Restatement, as under Tex. Bus. & Com. Code

§ 271.001 et seq. Cantu v. Jackson Nat. Life Ins. Co., 579 F.3d 434, 437 (5th Cir. 2009). Pursuant

to a traditional Restatement analysis, the Court may properly enforce the Provision. To

successfully evade the Provision, Defendants must prove that Michigan has (1) a more significant

relationship with the parties and the transaction; (2) a materially greater interest in the

enforceability of the Provision; and (3) a fundamental Michigan policy would be contravened by

application of Texas law to this dispute. See generally Goosehead Br. 12–20 and ECF No. 48

(“Goosehead Reply Br.”) 2–9. Defendants must establish all three elements. Apart from the

Provision, Texas law is nonetheless applicable because it maintains the most significant

relationship to the transaction. Goosehead Br. 19–20 & Goosehead Reply Br. 8–9.

                                        CONCLUSION

       For the foregoing reasons, and those stated in its principal briefing, Goosehead asks the

Court to apply Texas law to this dispute. The Court should further dismiss Defendants’ unjust

enrichment and tortious interference claims for failing to state claims upon which relief can be

granted.

Dated: August 25, 2020.



/s/Marc Kirkland



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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 25th day of August, 2020, I electronically filed the foregoing

document with the Clerk of the Court by using the CM/ECF system which will send notice of the electronic

filing to all counsel of record.

                                                    /s/Marc Kirkland




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